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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


James Irving Dale,                                   Civil File No. 18-cv-886 (DWF/DTS)

                     Plaintiff,

       vs.
                                                      STATEMENT THAT ENTIRE
Tom Roy, et al.,                                 DOCUMENT IS CONFIDENTIAL OR
                                                    IMPRACTICABLE TO REDACT
                     Defendants.


       State Defendants Tom Roy, Kathryn Halvorson, Nola Karow, Nanette Larson,

Michelle Jaeckles, Jeffrey Haffely, Martin Dahlen, David Paulson, Ann Blanchard,

Heather Hanson, and Jason Ottman in the above-captioned action have filed Exhibits A

through J attached to the Declaration of Dan Ganin. The exhibits to this declaration

contain private medical information regarding Plaintiff that is not public data.

                                   Signature on page 2
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Dated: August 1, 2018               OFFICE OF THE ATTORNEY GENERAL
                                    State of Minnesota



                                    s/ Kathryn A. Fodness
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